       Case 4:22-cv-01824 Document 17 Filed on 11/23/22 in TXSD Page 1 of 7




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


 LAURITZEN BULKERS A/S,                                 §
    Defendant and Third-Party Plaintiff,                §
                                                        §
 VS.                                                    §
                                                        §    Civ. No. 4:22-cv-01824
 KIRBY INLAND MARINE LP,                                §
      Third-Party Defendant.                            §    FED. R. CIV. P. 9(h)
                                                        §    Admiralty Claim
                                                        §
                                                        §

                      DEFENDANT AND THIRD-PARTY PLAINTIFF
                       LAURITZEN BULKERS A/S’ THIRD-PARTY
                    COMPLAINT AGAINST KIRBY INLAND MARINE LP

       COMES NOW, Defendant and Third-Party Plaintiff Lauritzen Bulkers A/S (“Lauritzen”) against

Third-Party Defendant Kirby Inland Marine LP (“Kirby”) and, pursuant to Rule 14 of the Federal Rules of

Civil Procedure, respectfully would show the Court as follows:


       1.      Lauritzen repeats, re-alleges, and incorporates as if fully set forth herein the

allegations set forth in its Answer with Counterclaim filed against Plaintiff Nalex in this action.

(Dkt. No. 14, a copy of which is attached as Exhibit A). Lauritzen further alleges:

                                      Jurisdiction and Venue

       2.      This is an admiralty and maritime claim within the meaning of Rules 9(h) and 14(c)

of the Federal Rules of Civil Procedure in that it involves a claim for a maritime tort. The case also

falls within the Court’s admiralty jurisdiction pursuant to 28 United States Code § 1333. Pendent or

ancillary jurisdiction also lies on any non-federal claims as they arise out of the same transaction or

occurrence or series of transactions or occurrences as the above claims.

       3.      Venue for this civil action is proper in this judicial district pursuant to 28 U.S.C. §

                                                    1
       Case 4:22-cv-01824 Document 17 Filed on 11/23/22 in TXSD Page 2 of 7



1391(b) because Plaintiff Nalex Energy, LLC and Third-Party Defendant Kirby Inland Marine LP

are Texas corporations with principal places of business in or around Houston, Texas.

                                               Parties

       4.      Upon information and belief, Plaintiff Nalex Energy, LLC (“Nalex”) is a Texas

limited liability company with its principal place of business in Houston, Texas and is engaged in

the business of selling and/or supplying of marine fuels to ocean-going vessels. (Dkt. No. 1, ¶ 3, a

copy of which is attached as Exhibit B).

        5.     Defendant and Third-Party Plaintiff Lauritzen is a foreign business entity organized

under the laws of Denmark and, at all times material to this action, was the time charterer of the M/V

SHANGHAI, an ocean-going bulk carrier.

        6.     Upon information and belief, Kirby is a Texas corporation with its principal place of

business in or around Houston, Texas and is engaged in the business of physically supplying marine

fuels to ocean-going vessels such as the M/V SHANGHAI (hereinafter the “Vessel”).

                                       Factual Background

       7.      On or about April 25, 2022, Lauritzen contracted with Nalex to supply marine fuel to

the Vessel (the term “bunkers” is commonly used in the industry to refer to marine fuels). As time

charterer of the Vessel, Lauritzen was obligated to procure bunkers for the operation of the Vessel while

it was under charter to Lauritzen.

       8.      The relevant terms of the contract between Nalex and Lauritzen required, inter alia, that

the bunkers supplied by Nalex meet the international quality standards for bunkers found in ISO

8217:2017. These international quality standards have set parameters for the composition of bunkers

for use in the engines of ocean-going vessels. One such parameter is a combination of aluminum and

silicon, commonly referred to as catfines. The maximum permissible content for catfines under the ISO


                                                    2
       Case 4:22-cv-01824 Document 17 Filed on 11/23/22 in TXSD Page 3 of 7



8217:2017 international quality standard is 60 mg/kg.

       9.      Upon information and belief, Nalex retained Kirby as delivery agent and barge

contractor to physically deliver the bunkers to the Vessel. (See Dkt. No. 1, ¶ 11, Exhibit B). According

to the Marine Fuel Delivery Receipt (“MFDR”) filed by Nalex with its Verified Original Complaint

(Dkt. No. 1-4, copy attached, Exhibit B), the physical delivery of the bunkers to the Vessel occurred

on April 25, 2022, by way of Barge Kirby 27735 delivering the bunkers to the Vessel, which was

anchored at 9-mile Anchorage in New Orleans, Louisiana.

       10.     Upon information and belief, samples of the bunkers being delivered to the Vessel were

taken by a Kirby barge tankerman while aboard Barge Kirby 27735 and the seal numbers for the

samples taken were written on the MFDR. (See Dkt. No. 1, ¶ 12, Dkt. No. 1-4, Exhibit B).

       11.      Upon information and belief, as the bunkers were being delivered to the Vessel, samples

were being collected by the Vessel’s crew from the Vessel’s bunker inlet manifold by continuous drip

sample method.

       12.     Two of the continuous drip samples taken at the Vessel’s bunker intake manifold on

the date of delivery were analyzed and the results indicated a catfines content far in excess of the 60

mg/kg maximum permitted by ISO 8217:2017; to wit, 118 mg/kg (Intertek Lintec Fuel Quality Report

– Dkt. 14-1, copy attached, Exhibit A) and 102 mg/kg (Intertek Caleb Brett – Dkt. 14-2, copy attached,

Exhibit A). A third sample taken from the Vessel’s bunker tank no. 3S after the bunkers supplied by

Nalex had been received on board were analyzed and the results also indicated a catfines content well

in excess of the 60 mg/kg maximum permitted by the ISO quality standards – 99 mg/kg (Intertek Caleb

Brett – Dkt. No. 14-3, copy attached, Exhibit A). The analyses of these samples clearly show that the

bunkers supplied to the Vessel by Nalex were off-specification by significant amounts under the ISO

quality standards for catfines.

                                                   3
       Case 4:22-cv-01824 Document 17 Filed on 11/23/22 in TXSD Page 4 of 7



       13.     In its Verified Original Complaint, Nalex relies on two laboratory analyses for the

proposition that the bunkers supplied to the Vessel were on-specification because the catfines content

was 17 ppm (AmSpec 5/2/22) for one of the bunker samples (seal # 1191919) from the Kirby barge

(Dkt. No. 1-7, copy attached, Exhibit B) and the catfines content was 34 ppm (Intertek Caleb Brett

5/5/22) for a second bunker sample (seal #1191918) from the Kirby barge (Dkt. No. 1-5, copy attached,

Exhibit B). Both of the results – 17 ppm and 34 ppm – were less than the 60 mg/kg maximum

permitted under the ISO quality standards.

       14.     In October 2022, bunker samples (seal # 0153995 and # 1191920) from the Kirby barge

were analyzed with the results of 31 ppm and 30 ppm respectively for catfine content (Dkt. No. 14-4

and 14-5, copies attached, Exhibit A). These results were also less than the maximum permitted under

the ISO quality standards.

       15.     What the test results from all of these analyses indicate is that all four Kirby barge

samples were found to be outside the reproducibility of the Vessel manifold continuous drip samples,

indicating that the barge samples were significantly different than the Vessel manifold samples in

regard to catfines content.

       16.     These analyses also showed that with the other parameters of the bunkers (from Table

2 of the ISO quality standards) being comparable between the Vessel bunker inlet manifold and barge

external line samples, the barge external line bunker samples were underestimating the catfines content

due to the manner in which the barge samples were drawn.

       17.     The significant difference in the catfines content between the Vessel bunker inlet

manifold samples and barge external line samples was due to Kirby’s negligence because (a) the barge

external line samples were likely improper spot samples (rather than industry standard continuous drip

samples) and/or (b) the samples drawn from the barge external line were not mixed properly prior to

                                                   4
        Case 4:22-cv-01824 Document 17 Filed on 11/23/22 in TXSD Page 5 of 7



sub-sampling.

       18.      The improper and negligent sampling methods used by Kirby in taking the barge

external line samples resulted in analyses and certificates of analyses that did not accurately reflect the

catfines content in the bunkers delivered to the Vessel. The samples and analyses and certificates of

analyses for which inaccurate results were obtained are set forth in paragraphs 13 and 14 above.

       19.      As a result, the bunkers that were actually received on the Vessel on April 25, 2022,

were off-specification because they did not comply with the ISO quality standards for catfines as

agreed in the contract between Nalex and Lauritzen.

       20.      The direct and foreseeable consequences of Kirby’s negligence in employing improper

sampling methods with the result of inaccurate analyses and certificates of analyses being issued of

the bunker barge external line samples were:

                (a) the dispute arising between Nalex and Lauritzen as to whether or not the bunkers

were on-specification or off-specification for catfines content;

                (b) the demand by Nalex for security for payment of the bunkers and later threat of

arrest of the Vessel for security, which necessitated the payment to Nalex under protest by Lauritzen

of the full purchase price for the off-specification bunkers. The full purchase price paid under protest

by Lauritzen was $249,804.58;

                (c) the hiring of marine surveyors and experts to determine the nature, cause, and extent

of the quality condition of off-specification bunkers. The cost of these marine surveyors and experts

is currently approximately $15,000.00 and will increase as additional invoices for these services are

received and paid; and

                (d) the hiring of legal counsel to assist in determination of Lauritzen’s rights and

payment obligations in regard to delivery of off-specification bunkers by Nalex. The cost of legal
                                                     5
        Case 4:22-cv-01824 Document 17 Filed on 11/23/22 in TXSD Page 6 of 7



counsel is currently approximately $60,000.00 and will increase as additional invoices are received

and paid.

        21.     In sum, Lauritzen seeks to recover the following sums from Kirby for:

                a.      $249,804.58 – see paragraph 20(b);

                b.      $15,000.00 – see paragraph 20(c); and

                d.      $60,000.00 – see paragraph 20(d).

                TOTAL           $324,804.58



        WHEREFORE, Defendant Lauritzen Bulkers A/S prays that:

                a.      a judgment issue against Kirby and in favor of Lauritzen awarding damages to

Lauritzen in the amount sought in this Third-Party Complaint, $324,804.58, together with an award

of interest, costs, and attorneys’ fees;

                b.      a judgment issue against Kirby and in favor of Nalex, pursuant to Rule 14(c)

of the Fed. R. Civ. P., for the damages sought in the Verified Original Complaint, or otherwise, plus

interest, costs, and attorneys’ fees; and

                c.      the Court grant Lauritzen such other and further relief as it may see fit.




Dated: November 23,2022




                                                     6
       Case 4:22-cv-01824 Document 17 Filed on 11/23/22 in TXSD Page 7 of 7




                                           Respectfully submitted,

                                           Lyons & Flood, LLP

                                           As Attorneys for Defendant Lauritzen Bulkers A/S

                                           /s/ Kirk M. Lyons
                                           Kirk M. Lyons
                                           Admitted Pro Hac Vice
                                           The Towers, Suite 206
                                           111 Great Neck Road
                                           Great Neck, NY 11021
                                           (212) 594-2400
                                           klyons@lyons-flood.com

       CO-COUNSEL

Royston, Razor, Vickery & Williams, LLP

Attorneys for Defendant Lauritzen Bulkers A/S

Kevin P. Walters, Esq.
Texas State Bar No.: 20818000
Fed. I.D. No.: 5649
1600 Smith Street, Suite 5000
Houston, Texas 77002
Telephone: (713) 224-8380
Facsimile: (713) 225-9545
Kevin.walters@roystonlaw.com




                                      Certificate of Service

      The foregoing Third-Party Complaint was served on all counsel of record via the Court’s
ECF system on November 23, 2022.

                                           /s/ Kirk M. Lyons
                                           Kirk M. Lyons



                                                7
